                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                          SOUTHERN DIVISION
                           7:18-CR-00076-BO-3

UNITED STATES OF AMERICA                  )
                                          )
        v.                                )
                                          ) MEMORANDUM IN SUPPORT OF
                                          ) DEFENDANT’S PRO SE MOTION
JESUS NICOLAS RIOS,                       ) FOR COMPASSIONATE RELEASE
                                          )
       Defendant.                         )


      Mr. Jesus Nicolas Rios, through undersigned counsel, respectfully moves this

Honorable Court to grant his Motion for Compassionate Release under 18 U.S.C. §

3582(c)(1)(A) based on the “extraordinary and compelling reasons” presented by his

immediate vulnerability to COVID-19 while detained with multiple extremely high-

risk, chronic medical conditions. As verified herein and also attached to said Motion

for Compassionate Release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), Mr. Rios has

properly exhausted his administrative remedies by filing his release request with the

warden which was not approved and by filing with this Honorable Court. [D.E. 143].

A copy of Mr. Rios’ administrative filing with the warden has been requested, but not

received as of yet due to recent delays but will be supplemented upon receipt.

      Mr. Rios is forty (40) years old and suffers from diabetes, hypertension, high

blood pressure, and high cholesterol. He has also been diagnosed with Tuberculosis.

[D.E. 134]. See PSR at ¶ 32. Medical records have been requested but not yet received

likely due to recent delays associated with the COVID-19 pandemic will be forwarded

in a supplemental filing.

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      While detained and unable to comply with social distancing and hygienic

COVID-19 precautions recommended by the CDC, Mr. Rios risks the most hazardous

COVID-19 complications, which could reasonably result in death with his

combination of diabetes, high blood pressure, and respiratory conditions. His

compromised health is of the nature that even if he was not in the custody of the

Bureau of Prisons, he would be considered of the highest risk category for serious

complications and/or death if he were to contract COVID-19. The fact that he is

incarcerated makes it even more dire.

      Mr. Rios is currently in custody at Phoenix FCI in Phoenix, Arizona where the

detained population is around 1,000 total inmates, according to the Federal Bureau

of Prisons. Staff members and inmates have already been infected with COVID-19 at

Phoenix    FCI    at   higher    rates   than    the    general    population.   (See

https://www.bop.gov/coronavirus/ wherein the public is provided a “snap shot” of one

time, which clearly is subject to deteriorating conditions and an increasing hazard of

airborne disease from moment to moment.) According to a National Commission on

COVID-19 and Criminal Justice report released September 2020 on the impact of

COVID-19 in U.S. State and Federal Prisons, the COVID-19 mortality rate within

prisons is twice as high as the general population’s morality rate and the rate of

COVID-19 infections is over four times as high as the general population. Schnepel,

Kevin T. COVID-19 in U.S. State and Federal Prisons. Washington, D.C.: Council on

Criminal Justice (September 2020). New outbreaks of COVID-19 have increased

rapidly in recent months, which is particularly concerning when the United States



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has the largest incarcerated population in the world at about two million detainees.

Schnepel (2020).

      As most judges from the Eastern District of North Carolina have granted such

Compassionate Release Requests where it is appropriate to show this type of legally-

sanctioned mercy, it is respectfully requested that this Honorable Court use its wise

discretion and also issue an order reducing Mr. Rios’ sentence to time served and/or

home confinement given that it is appropriate to do so in Mr. Rios’ immediate case as

well. For example, see United States v. Bradford, 5:01-CR-128-BO-1 (E.D.N.C. Jul.

30, 2020); United States v. Spencer, 2:11-CR-49-BO-2 (E.D.N.C. Jul. 30, 2020).



                             STATEMENT OF FACTS

      On April 10, 2018, David William Giguiere, Javier Mercado, and Jesus Nicolas

Rios were named in a four-count indictment filed in the Eastern District of North

Carolina.   Count    1   charged    defendants    with    conspiracy    to   distribute

methamphetamine in violation of 21 U.S.C. § 841(a)(1). Mr. Rios was not named in

the other counts. On December 18, 2018, Mr. Rios pled guilty to Count 1 of the

indictment. On May 22, 2019, Mr. Rios was sentenced to 120 months with credit for

time served while in federal custody, five years of supervised release with conditions,

and a special assessment in the amount of $100. Mr. Rios’ projected release date is

December 5, 2026.

      The current COVID-19 outbreak has not been contained in the United States

and certainly and sadly not within our prison walls either. Thus, it is respectfully

submitted that this Honorable Court find that he has satisfactorily pursued his
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administrative remedies given that all matters have been completed, as required by

18 U.S.C. § 3582(c)(1)(A).

                                  BACKGROUND

      Congress first enacted 18 U.S.C. § 3582(c)(1) as part of the Comprehensive

Crime Control Act of 1984 to serve as a “safety valve” for judges to assess whether a

sentence reduction was warranted by factors that previously would have been

addressed through the abolished parole system. S. Rep. No. 98-225, at 121 (1983).

“This legislative history demonstrates that Congress, in passing the Comprehensive

Crime Control Act of 1984, intended to give district courts an equitable power to

employ on an individualized basis to correct sentences when ‘extraordinary and

compelling reasons’ indicate that the sentence initially imposed on an individual no

longer served legislative objectives.” United States v. Millan, No. 91-CR-685 (LAP),

2020 WL 1674058, at * 5 (S.D.N.Y. Apr. 6, 2020).

      The compassionate release statute empowered courts to reduce a defendant’s

sentence whenever “extraordinary and compelling reasons warrant such a reduction.”

18 U.S.C. § 3582(c)(1)(A)(i). Congress delegated to the U.S. Sentencing Commission

the responsibility of defining what were “extraordinary and compelling reasons.” See

28 U.S.C. § 994(t) (“The Commission . . . shall describe what should be considered

extraordinary and compelling reasons for sentence reduction, including the criteria

to be applied and a list of specific examples.”). It was not until 2007, more than two

decades after the statute was enacted, that the Commission responded. It issued a

guideline stating that “extraordinary and compelling reasons” include medical



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conditions, age, family circumstances, and “other reasons.” U.S.S.G. § 1B1.13, app.

n.1(A)-(D).

        Mr. Rios is unfortunately extremely vulnerable to hospitalization for serious

complications and even death once he contracts COVID-19 in a matter of time due to

his combined diagnoses of diabetes, hypertension, high blood pressure, high

cholesterol, and tuberculosis. See Current CDC Determinations of High Risk

Conditions:                    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last accessed November 12, 2020).

Due to the combination of extreme risk factors, proven through statistics and medical

reports, Mr. Rios’ request for compassionate release qualifies under the guidelines as

‘extraordinary and compelling’ reasons. Application Note 1(A)(ii) to Guidelines

Section 1B1.13 states extraordinary and compelling reasons, which include when the

defendant is—


(I)     suffering from a serious physical or medical condition;
(II)    suffering from a serious functional or cognitive impairment; or
(III)   experiencing deteriorating physical or mental health because of the
        aging process, that substantially diminishes the ability of the
        defendant to provide self-care within the environment of a correctional
        facility and from which he or she is not expected to recover.

U.S.S.G. § 1B1.13 app. n. 1(A)(ii). Application Note 1(B) identifies extraordinary and

compelling reasons to include Mr. Rios’ “suffering from a serious physical or medical

condition.” Furthermore, Application Note 1(D) created a catch-all provision, for

when the Director of the BOP determined “there exists in the defendant’s case an




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extraordinary and compelling reason other than, or in combination with, the reasons

described in subdivisions (A) through (C).”

      As originally enacted, the statute left sole discretion for filing compassionate

release motions with the Director of the BOP, who adopted a program statement

governing compassionate release that in many ways narrowed the criteria

established by the Commission. See BOP Program Statement 5050.49. During the

span of more than three decades, the BOP rarely filed motions on behalf of inmates

who met the eligibility criteria.      The Office of the Inspector General for the

Department of Justice concluded in 2013 that “[t]he BOP does not properly manage

the compassionate release program, resulting in inmates who may be eligible

candidates for release not being considered.” Department of Justice, Office of the

Inspector General, The Federal Bureau of Prisons’ Compassionate Release Program

(April 2013), at 11, available at https://oig.justice.gov/reports/2013/e1306.pdf; see also

Department of Justice, Office of the Inspector General, The Impact of an Aging

Inmate Population on the Federal Bureau of Prisons (May 2015), at 51, available at

https://oig.justice.gov/ reports/2015/e1505.pdf (“Although the BOP has revised its

compassionate release policy to expand consideration for early release to aging

inmates, which could help mitigate the effects of a growing aging inmate

population…”, decades of denying such Compassionate Release Reduction Requests

are imprinted in its long standing history); U.S.S.G. § 1B1.13, app. n.4 (admonishing

BOP for its past failure to pursue relief on behalf of eligible inmates). Heeding this

criticism, Congress acted.



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      The title of Section 603(b) of the First Step Act—“Increasing the Use and

Transparency of Compassionate Release”—leaves no doubt as to Congress’ intent in

modifying 18 U.S.C. § 3582(c)(1)(A). Through the First Step Act, enacted December

21, 2018, Congress sought to resuscitate compassionate release by, inter alia,

allowing defendants to directly petition courts for relief, rather than leaving that

power solely in the hands of the BOP. See 18 U.S.C. § 3582(c)(1)(A). “[U]nder the

amended statute, a court may conduct such a review also ‘upon motion of the

defendant,’ if the defendant has exhausted all administrative remedies to appeal the

BOP’s failure to bring a motion, or if 30 days has lapsed ‘from the receipt of such a

request by the warden of the defendant’s facility,’ whichever is earlier.” United States

v. Decator, No. CCB-95-0202, 2020 WL 1676219 (D. Md. Apr. 6, 2020) (quoting 18

U.S.C. § 3582(c)(1)(A)(i); Pub. L. 115-391, Title VI, § 603(b), Dec. 21, 2018, 132 Stat.

5239), appealed by the government. In other words, “a prisoner must exhaust the

administrative appeal process, or wait 30 days, before his claim may be considered”

by the court. United States v. Underwood, No. TDC-18-0201, 2020 WL 1820092, at

*2 (D. Md. Apr. 10, 2020) (citing cases).



                                    ARGUMENT

      Medical professionals within our country and around the world for that matter

have deemed Mr. Rios’ vulnerability to COVID-19 as being placed in the high-risk

category of likely not being able to survive the Coronavirus due to his history of

chronic medical problems. https://www.cdc.gov/coronavirus/2019-ncov/need-extra-



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precautions/people-with-medical-conditions.html. Mr. Rios’ underlying medical

conditions make him especially vulnerable to COVID-19, constituting “extraordinary

and compelling reasons” for relief.    His release does not pose a danger to the

community, and a balancing of the § 3553(a) factors with the risks to Mr. Rios posed

by COVID-19 warrants relief.



   A. This Honorable Court has the authority to determine that Mr. Rios’
      vulnerability to COVID-19 does in fact constitute an “Extraordinary
      and Compelling Reason” for a sentence reduction.

      Many federal judges across the country are holding that they have the

authority to define “extraordinary and compelling reasons” for release under § 1B1.13

app. n. 1(D) and that the risks associated with COVID-19 can constitute an

“extraordinary and compelling reason” for a sentence reduction. United States v.

Brooker (Zullo), No. 19-3218, 2020 WL 5739712 (2d Cir. Sept. 25, 2020). Courts have

used their wise and appropriate discretion, as this Honorable Court has as well, to

provide defendants with relief under § 3582(c)(1)(A) “even when their circumstances

do not fit squarely within the current policy statement of the Sentencing Commission

as reflected in U.S.S.G. §1B1.13.” United States v. Alexander Salabrarria, Crim. No.

7:00-CR-95-1-BO, ECF No. 125, page 5 (E.D.N.C. April 14, 2020), citing United States

v. Mauma, No. 2:08-CR-00758-TC-11, 2020 WL 806121, at *4 (D. Utah Feb. 18, 2020)

(listing cases holding same).

      In United States v. Mel, Judge Chuang held that “[a]s applied to Mel, the

COVID-19 pandemic presents ‘extraordinary and compelling reasons’ that warrant



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the modest sentencing reduction requested.” 2020 WL 2041674, at *2. Ms. Mel had

submitted documents establishing that she had a thyroid mass that doctors estimated

had a 25- to 40-percent chance of malignancy. While Judge Chuang found he could

not “conclude with certainty” that Mel had a health condition that placed her at

particular risk to severe illness from COVID-19, he “nevertheless . . . f[ound] that the

historic COVID-19 pandemic, the fact that Mel has been incarcerated in one of the

federal prisons most profoundly impacted by COVID-19 [FCI Danbury], and the fact

that as a result of the outbreak, she has effectively been prevented from receiving

necessary medical care for a potentially life threatening condition, collectively

establish ‘extraordinary and compelling reasons’ within the meaning of 18 U.S.C. §

3852(c)(1)(A).” Id. at 3.

      Judges in districts throughout the United States have recognized that, at least

for certain defendants, COVID-19 presents “extraordinary and compelling reasons”

warranting a reduction in their sentences under the compassionate release statute.

They vary from individual to individual, which is to be expected, but a common thread

attaches them all; that is, the need to otherwise have a fighting chance at surviving

alongside the necessary love from one’s family, as opposed to physically suffering and

unnecessarily deteriorating once the coronavirus is contracted by an inmate alone

and thus, in an inhumane manner because of his or her unfortunate medical diseases

and concerns or simply due to the fact that COVID-19 is running rampant across our

federal prison system leading to unnecessary suffering and death amongst the

inmates therein. Some of these cases are cited below to identify the range of which



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Federal Courts across the country are granting such Compassionate Release

Requests. These cases include, but are not limited to:


   •   United States v. Howard, No. 4:15-cr-00018-BR, 2020 WL 2200855 (E.D.N.C.
       May 6, 2020) (finding 52-year-old with “chronic obstructive pulmonary disease
       (‘COPD’), Type II diabetes, obesity, Stage 3 kidney disease, edema, open
       wounds on his legs, and a diaphragmatic hernia” demonstrated extraordinary
       and compelling circumstances due to COVID-19 even though his conditions
       neither constituted terminal illness nor prevented him from engaging in most
       of his daily activities without assistance);

   •   United States v. Norris, No. 7:19-cr-36-BO-2, 2020 WL 2110640 (E.D.N.C. Apr.
       30, 2020) (finding defendant had demonstrated extraordinary and compelling
       circumstances for relief because he “suffers from various severe ailments,”
       including a life-threatening disease, kidney failure requiring dialysis three
       times a week, and recurrent bouts of pneumonia, “that cumulatively make his
       continued confinement especially dangerous in light of COVID-19.”)

   •   United States v. Hansen, No. 17-cr-50062, 2020 WL 2219068 (N.D. Ill. May 7,
       2020) (“[T]he Court cannot discount the risk to Hansen if he contracts
       coronavirus, as reliable information places him in a higher-risk category.
       Specifically, the presentence report documents that he suffers from diabetes,
       hypertension, high cholesterol, kidney disease, and chronic obstructive
       pulmonary disease, all of which are confirmed risk factors for serious illness if
       one contracts coronavirus.”)

   •   United States v. Amarrah, No. 17-20464, 2020 WL 2220008 (E.D. Mich. May 7,
       2020) (shortening 60-month sentence after only 21 months because Amarrah’s
       “Type II diabetes, hypertensive heart disease, cardiac arrhythmia, obstructive
       sleep apnea, and asthma” put him a substantial risk should he contract
       COVID-19 even though facility had no reported cases);

   •   Casey v. United States, No. 4:18-cr-4, 2020 WL 2297184, at *3 (E.D. Va. May
       6, 2020)(“The Court finds that Petitioner has set forth extraordinary and
       compelling reasons to modify his sentence because of the great risk that
       COVID-19 poses to a person of his age with underlying health conditions.”);

   •   United States v. Quintero, No. 08-cr-6007L, 2020 WL 2175171 (W.D.N.Y. May
       6, 2020) (granting compassionate release to man who “suffers from diabetes, a
       compromised immune system, obesity, and hypertension,” “which make him
       more susceptible than another to contract the virus.”);



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•   United States v. Reid, No. 17-cr-00175-CRB-2, 2020 WL 2128855 (N.D. Cal.
    May 5, 2020) (granting compassionate release based on risks COVID-19
    presents to individual with hypertension, high cholesterol, and Valley Fever,
    which causes lung infection and can result in acute pneumonia);

•   United States v. Pabon, No. 17-165-1, 2020 WL 2112265, at *1 (D Mass. May
    4, 2020) (holding that for the 54-year-old defendant who suffers from “diabetes,
    hypertension, hemophilia, atopic dermatitis, gastroesophageal reflux disease,
    peptic ulcer, and diverticulitis” “nothing could be more extraordinary and
    compelling than this pandemic”);

•   United States v. Echevarria, No. 3:17-cr-44 (MPS), 2020 WL 2113604 (D Conn.
    May 4, 2020) (finding 49-year-old with pre-existing respiratory condition—a
    history of bronchial asthma—combined with the increased risk of COVID-19
    in prisons had demonstrated extraordinary and compelling reasons for relief);

•   United States v. Early, No. 09 CR 282, 2020 WL 2112371, at *2 (N.D. Ill. May
    4, 2020) (“the Court cannot discount the risk to Mr. Early if he contracts
    coronavirus, as reliable information places him in a higher-risk category [62,
    diabetes and hypertension]. This, in the Court’s view, qualifies as an
    extraordinary reason warranting consideration of a reduction of Mr. Early’s
    sentence.”);

•   United States v. Soto, No. 1:18-cr-10086-IT, 2020 WL 2104787 (D. Mass. May
    1, 2020) (finding inmate with hypertension at facility with COVID-19 cases
    located in New York had shown extraordinary and compelling reasons for
    relief);

•   United States v. Kelly, No. 3:13-CR-59-CWR-LRA-2, 2020 WL 2104241, at *7
    (S.D. Miss. May 1, 2020) (granting compassionate release to young man
    without health issues at Oakdale I because “it has become increasingly
    apparent that the BOP has failed to control the outbreak at Oakdale I. … Given
    the steadily growing death toll and the apparent continued spread of the
    disease at Oakdale I, COVID-19 creates an ‘extraordinary and compelling
    reason’ potentially warranting a reduced sentence.”);

•   United States v. Rodriguez, No. 2:03-cr-00271-AB-1, 2020 WL 1627331, at *7
    (E.D. Pa. Apr. 10, 2020) (“Mr. Rodriguez’s circumstances—particularly the
    outbreak of COVID-19 and his underlying medical conditions that place him
    at    a    high   risk   should     he    contract    the   disease—present
    ‘extraordinary and compelling reasons’ to reduce his sentence.”); and

•   United States v. Miller, No. 16-cr-20222-1, 2020 WL 1814084, at *4 (E.D. Mich.
    Apr. 9, 2020) (“Miller squarely fits the definition of an individual who has a

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      higher risk of falling severely ill from COVID-19. . . . Therefore, the Court finds
      that extraordinary and compelling reasons exist for his immediate
      compassionate release.”).


      There is no question that Section 603(b) of the First Step Act fundamentally

changed the role of courts in the compassionate release process, vesting them with

the authority to determine what constitutes extraordinary and compelling reasons

for release. This global pandemic, as applied to Mr. Rios with his current unique

combination of chronic illnesses and high-risk factors for death once contracting

COVID-19, is an extraordinary and compelling circumstance.



   B. Mr. Rios’ Dire Situation Presents an “Extraordinary and Compelling”
      Reason Warranting a Reduction in Sentence.



      While the Bureau of Prisons has made efforts to reduce the spread of the virus

throughout the federal prison system, the rate of infection is far higher within the

Bureau of Prisons than within the community at large, and continues to spread at an

alarming rate, as the charts below demonstrate.




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      Amid this rapidly-unfolding crisis, the recommended antidote is simple: reduce

the prison population by releasing those whose continued incarceration is not

necessary to protect the public so that correctional institutions can better protect




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those who need to stay incarcerated.1 Mr. Rios is exactly the type of individual

deserving of compassionate release: he is at high risk of severe illness and, as will be

discussed in the next section, his release does not pose a danger to the community

and balancing the 3553(a) factors warrants the requested relief.



   C. The Relevant § 3553(a) Sentencing Factors Warrant Reducing Mr.
      Rios’ Sentence to Time Served / Adding a Period of Home Confinement
      as a Condition of Supervised Release.

       Under the compassionate release statute, when a defendant establishes the

existence of extraordinary and compelling circumstances justifying relief, courts must

consider the relevant sentencing factors of 18 U.S.C. § 3553(a) to determine whether

a sentencing reduction or modification is warranted. 18 U.S.C. § 3582(c)(1)(A)(i).

Here, Mr. Rios’ compromised physical health, and the unique once he contracts

COVID-19, when combined with the other Section 3553(a) sentencing factors,

warrant immediate relief.

       The court shall impose a sentence that is sufficient but “not greater than

necessary” to (A) reflect the seriousness of the offense, to promote respect for the law,

and to provide just punishment for the offense; (B) to afford adequate deterrence to


       1   For example, on March 27, 2020, more than 400 former DOJ leaders, attorneys, and
federal judges sent an open letter to the President, asking that he take immediate action to reduce
the population in correctional facilities to prevent the catastrophic spread of COVID-19, in
particular by commuting the sentences of elderly and medically vulnerable inmates who have
already served a majority of their sentence. See https://fairandjustprosecution.org/wp-
content/uploads/2020/03/Letter-to-Trump-from-DOJ-and-Judges-FINAL.pdf. The same day,
dozens of public health experts made a similar request, asking the President to commute the
sentences of elderly inmates, noting they are at the highest risk of dying from the disease and pose
the smallest risks to public safety. See https://thejusticecollaborative.com/wp-
content/uploads/2020/03/Public-Health-Expert-Letter-to-Trump.pdf.
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criminal conduct; (C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with needed educational or vocational training, medical

care, or other correctional treatment in the most effective manner. § 3553(a)(2)(A)-

(D). “[A]lthough defendant’s federal sentence may have been appropriate at the time

it was imposed, the Court’s analysis is different in current circumstances. United

States v. Lee, 2020 WL 3422772, at *5 (E.D. Va. June 22, 2020). United States v. Mel,

2020 WL 2041674 at *3 (D. Md. Apr. 28, 2020) (finding release appropriate where

“the actual severity of the sentence as a result of the COVID-19 outbreak exceeds

what the Court anticipated at the time of sentencing.”).

      The nature and circumstances of this offense weigh in favor of a reduction of

sentence. Mr. Rios was only named in one count of the four-count indictment. The

underlying case did not any way allege any type of violent behavior by Mr. Rios or

any conduct which would endanger the community in the future. There was “no

identifiable victim.” PSR at ¶ 18. Mr. Rios has been detained since his arrest on July

18, 2018, which is sufficient deterrence for a crime wherein Mr. Rios has expressed

clear remorse for and a renewed dedication to his family since the birth of his

premature son, who was born after being charged. Since being detained, Mr. Rios has

reported experiencing “severe anxiety attacks.” See PSR at ¶ 33. He takes anti-

anxiety medication and sees a psychiatrist for his condition. His anxiety attacks are

in part due to his worrying about the health of his son, Eli, who was born prematurely,

and Mr. Rios’ inability to support his fiancée while she cares for their son. Id.




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      Mr. Rios has received adequate rehabilitation while incarcerated. He

participated in substance abuse treatment for three months while incarcerated. See

PSR at ¶ 34. From 2017 to 2018, Mr. Rios trained with the same towing company

where he would be employed upon his release. See PSR at ¶ 37. See Exhibit A, Letter

from Mr. Rios’ Fiancée, Mayra Arteaga. Mr. Rios has received vocational training and

correctional treatment and now needs to be released to receive adequate medical

treatment and preventative care in the most effective manner. Mr. Rios would be

working full time for the towing company rather than training, further deterring any

relapse into illegal activity. Mr. Rios would be living with his fiancée and young son

and supporting his family in Bellflower, California.

      Any further detention of Mr. Rios during this time would be to continue a

sentence that is greater than necessary, particularly when “prisons now are even

more dangerous than we typically accept.” United States v. Brown, No. 4:05-CR-

00227-1, 2020 WL 2091802, at *2 (S.D. Iowa Apr. 29, 2020). Mr. Rios has served

approximately half of his sentence which reflects the seriousness of the offense, but

which takes into account that his offenses and relevant conduct were clearly non-

violent. Mr. Rios has also been experiencing panic attacks while detained, even before

the outbreak of the COVID-19 pandemic, demonstrating that he is not serving a

typical, day for day sentence, but a sentence that is increasingly punitive and anxiety

inducing. Further deterring any future criminal conduct, Mr. Rios has a clear release

plan and will be residing with his nuclear family in an area surrounded with

supportive relatives, Termonja Carlton. See Exhibit A.



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       Furthermore, Mr. Rios’ family circumstances have changed since his

sentencing. Many families are now having to educate their children at home during

the COVID-19 pandemic, particularly when the children are vulnerable due to unique

medical issues such as being born premature, as is the case with Mr. Rios’ son, Eli. It

is more important than ever that children have two parental figures in the home to

assist with working full-time and allowing adequate time for childcare and education

within the home. Seeing the difficulty Mr. Rios’ fiancée has gone through in trying to

raise their son alone at this time is deterrent enough for Mr. Rios to remain on his

current path of growth and rehabilitation. Mr. Rios’ focus after his release is to ensure

that his family is cared for and that his son is on track to have the best opportunities

for his future.

       A reduction or modification of Mr. Rios’ sentence would not diminish the

seriousness of the offense, nor would it place the public in any danger. The

extraordinary and compelling circumstances presented by the uncontrolled spread of

COVID-19—compounded by the heightened risks faced by Mr. Rios, whose ability to

engage in basic self-protective measures is restricted and thus, warrant relief.

       Mr. Rios’ period of supervised release awaiting him will ensure that he

complies with the release plan discussed with his family. See United States v. Early,

2020 WL 2112371, at *5 (N.D. Ill. May 4, 2020) (finding that the risk to the public

“does not outweigh the risk to [Early] from contracting the coronavirus while

incarcerated,” particularly where “the Probation Office and the Court will be

monitoring him while on supervised release and []the Court will not hesitate to



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recommit him to prison should he again go astray.”) The Court may also impose home

confinement for a term equivalent to the remainder of his custodial sentence as well.

18 U.S.C § 3582(C)(1)(A). See also United States v. Raia, No. 2:18-CR-657, Dkt. No.

91 (D.N.J., May 7, 2020). Considering all of these emergency circumstances, it is

respectfully submitted that this Honorable Court find that a combination of

supervised release and/or home confinement would be sufficient to ensure deterrence,

protection of the public, and which would allow Mr. Rios to seek alternative and

appropriate medical care.


                                  CONCLUSION


      Mr. Rios has demonstrated extraordinary and compelling reasons for

compassionate release and respectfully requests this Honorable Court to reduce his

sentence to time served and/or add a period of home confinement as a condition of

supervised release.


      Respectfully submitted, this the 12th day of November 2020.


                                       GUIRGUIS LAW, PA

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                           CERTIFICATE OF SERVICE


      I hereby certify that the foregoing document was served upon the Assistant

Attorney for the United States electronically at the following address:



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      This 12th day of November 2020.



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                                 /s/ Nardine Mary Guirguis
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